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EXHIBIT A
eee Law Firm/Sponsoring Entity Type of Ad
A-1 Abused in Scouting Infomercial
B-1 Sheldon Law Group Infomercial
B-2 Sheldon Law Group Infomercial
B-3 Sheldon Law Group Radio
C-1 1-800-LAW-HELP Legal Network TV
C-2 1-800-LAW-HELP Legal Network TV
C-4 1-800-LAW-HELP Legal Network TV
E Law Office of Cohen & Jaffe, LLP TV
I Scout Abuse Helpline/Greg Jones Law, P.A. TV
K Sheldon Law Group LV
L Slater Slater Schulman LLP TV
M Parker Waichman LLP TV
O Napoli Shkolnik PLLC TV
R Junell & Associates Law Firm, PLLC Radio

' Declaration of Evan Roberts in Support of the Debtors’ Motion Pursuant to Section 105(a) of the
Bankruptcy Code and § 27 of the Bar Date Order for Entry of an Order (I) Supplementing the Bar
Date Order and (IT) Granting Related Relief (D.I. 1145-3).
